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           Cherry Hill, New Jersey 08002
           356-665-6464 609-314-9419
           Attorney for Eric Malone

          UNITED STATES                          )          UNITED STATES DISTRICT COURT
                                                 )          FOR THE DISTRICT OF NEW JERSEY
                                                 1
                  V.
                                                 )
                                                 )          DOCKET NO. 0-327 (SRC)
                                                 )
                                                 )
          ERIC MAlONE                            )          ORDER EXTENDING
                                                            SURRENDER DATE



                  This matter having come betbre the Court on the motion
                                                                         of defendant Erie
         Malone, by his attorney Donald F. Manno, Esq. for an order extending
                                                                                 the time to
         surrender on the sentence imposed by this Court on February
                                                                      10, 2011; and the United
         States by Assistant United States Attorney Bohdan Vitvitsky,
                                                                      Esq. having no objection;
         arid this extension being necessary because Mr. Malone has
                                                                    not yet been sentenced in the
         matter where lie has plead guilty in EDNY and sentenelng curren
                                                                           tly being scheduled for
         October 26, 201.1, having been postponed for the convenience of
                                                                          the Court without the
         consent or request of Mr. Maione; and this Court having previo
                                                                       usly directed Mr. Maione
         to self surrender on October15, 2011; and for good cause shown

                 IT IS ON THJS        / day of October. 2011;
                  ORDERED that Eric Malone shall surrender on October 28,
                                                                          2011 to the
         institution designated by the United States Bureau of Prison
                                                                     s.



                                                             —


                                                ONRABLESTANLR (SE
                                                United States District Judge
         I consent to the form and content of this order.



  aldF1annoEsq
      Attorney for Eric Maione                          Assistant U. S. Attorney
